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       EXHIBIT 13
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                                             Find My Mobile is now part of SmartThings Find.
                                            Lost something? Find your Galaxy phone, tablet, watch, and other devices with SmartThings Find.
                                                    New features and enhancements make it easier than ever to find your devices.


                                                                                               Get Started




                Don't worry, your other Galaxy devices
                               can help
            Locate your Galaxy SmartTag, Watch and Buds on SmartThings Find website and control these devices remotely. If you turn on Offline Finding to register your
                                mobile or tablet as a ‘Find Node', you can easily find your Galaxy SmartTag, Watch and Buds in case they go missing.




https://www.samsung.com/my/apps/smartthings-find/                                                                                                                                                 1/3
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                                                                                                 How to use
                                                                                                Find simple ways to use 'SmartThings Find'




                    SET UP FIND MY MOBILE                                                                    SET UP OFFLINE FINDING                                                          VISIT THE SMARTTHINGS FIND WEBSITE




                                                                                                                       Step 01
                                                                                                                     Go to settings.




        Galaxy S23 Ultra                                                                                                                Apps & Services
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               Device and screen images simulated for illustrative purposes.
               Support services may vary by country/region/carrier.
               The device must be turned on and logged in to your Samsung account.
               Offline finding is currently supported on Galaxy smartphones and tablets with at least Android 8, Galaxy Watch3, Galaxy Watch4, Galaxy Watch5, and Galaxy Buds Live, Galaxy Buds Pro, Galaxy Buds2 and Galaxy Buds2 Pro, and all types
               of Galaxy SmartTag series. Additional devices will be added in the future.
               The Offline Finding feature for your Galaxy Watch and Buds can be enabled within the Galaxy Wearable app. The connected phone or tablet’s Offline finding settings will also be applied to your Galaxy Watch and Buds.
               You can also locate lost devices using the SmartThings Find feature within the SmartThings app. To use SmartThings Find, ‘Allow this phone to be found’ in Find My Mobile settings must be turned on.
               To register a device as a Find Node, you need to agree to allow the use of your location information and the Privacy Notice.


https://www.samsung.com/my/apps/smartthings-find/                                                                                                                                                                                                       2/3
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                    Find Node devices do not indicate the exact location of the lost device.




    Home       Mobile     Apps & Service         SmartThings Find



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    Watches                                               Online Shop FAQ                                  Email Support            Wishlist               Diversity · Equity · Inclusion

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